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           EXHIBIT 21
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1                  UNITED STATES DISTRICT COURT

2              for the Northern District of Florida

3

4     STATE OF FLORIDA,

5                          Plaintiff,

6       v.

7     UNITED STATES OF AMERICA, et al.,

8                          Defendant.

9

10

11                 Deposition of COREY A. PRICE

12                            Washington, DC

13                       Friday, September 9, 2022

14                              11:00 a.m.

15

16

17

18

19

20    Job:     4 63273

21    Pages:     1 - 155

22    Transcribed by:         Pamela A. Flutie
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                             Transcript of Corey A. Price
                                 September 9, 2022                      55


1     were more, I would say, logistical in nature,

2     where we were going to get the best bang for our

3     buck and then, so I would have some of that

4     knowledge.

5           Q.     Who beside you?

6           A.     Acting Director Johnson would have

7     knowledge.     Peter Berg, who is the Acting Deputy

8     Executive Associate Director would have

9     knowledge.     Chief of Staff -- well, former Chief

10    of Staff Tim Perry would have knowledge, and I

11    believe former Deputy Director Matt Allen.               I

12    don't know if PJ Lechleiter was in place at the

13    time, but if he was, then he would have

14    knowledge.

15          Q.     Okay.    I'm going to show you an E-mail

16    then I'm going to mark for identification as

17    Exhibit, I think it's 9 to your deposition.

18    Exhibit 9 is a border patrol E-mail that you're

19    not copied on that recounts a conversation

20    between someone -- and I can't tell you who

21    because it's blacked out -- at ERO and someone

22    at Border Patrol -- and I can't tell you who at



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1     border patrol because that also is blacked out -

2     - but the E-mail itself is dated February 16,

3     2021, right?

4           A.     Yes.

5           Q.     Okay.    Just take a minute and you can

6     read it and I'll then ask you a series of

7     questions.

8           A.     Okay.

9           Q.     All right.       And February 16, 2021 is

10    twenty-six days after President Biden was

11    inaugurated, correct?

12                 MR. DARROW:        Objection.

13          A.     Correct.

14          Q.     Okay.    And some time before this E-

15    mail was sent, ERO had decided that it was no

16    longer going to detain family units that had

17    previously been detained under the Trump

18    administration, right?           Objection.

19          A.     I can't assume this is a Border Patrol

20    E-mail.     I wasn't part of this.             So, I -- I have

21    no knowledge of any decision in February of 2021

22    to end the family detention, no.



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1           Q.     All right.      Well, someone who again, I

2     can't tell who because it's been blacked out,

3     because there's been a privilege claimed, from

4     ERO, at least that's what it's recounting a

5     conversation, right, and somebody at ERO was

6     telling the, I think it's the acting chief of

7     law enforcement at Border Patrol, right, that

8     ERO was no longer going to detain family units,

9     right?

10          A.     That's what it appears on this E-mail

11    that Border Patrol was speaking about, but I

12    don't have knowledge of that conversation.                 I

13    don't recall this.

14          Q.     Okay.    Do you recall ever authorizing

15    anyone to communicate to Border Patrol that ERO

16    was ending family detention in February of 2021?

17                 MR. DARROW:       Objection.

18          A.     I   don't recall that.          I   do recall that

19    there were many discussions over the course of

20    2021 on what options we could come up with to

21    increase the number of people we could take into

22    custody or otherwise assist with decompressing,



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1     which was the word that Border Patrol was using,

2     decompressing their stations.              But I don't

3     specifically recall this.

4           Q.     Okay.     Are you aware that the -- the

5     communication that is contained in this E-mail

6     or the discussion that is summarized in this E-

7     mail caused Border Patrol to undertake -- to

8     undertake some actions?

9                  MR. DARROW:       Objection.

10          A.     No, I'm not aware of that.

11          Q.     Have you ever heard of a program

12    called notice to report?

13          A.     I have.

14          Q.     Okay.     What is noticed to report?

15          A.     I would have to defer to CBP,

16    specifically Border Patrol, what their

17    definition of that is.           I am aware that they --

18    they instituted that.          But for all specifics,

19    I'd have to defer to them.

20          Q.     Okay.     I understand that, you know,

21    you didn't run notice to report.                But notice to

22    report had had an impact -- an effect on ICE,



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                                  September 9, 2022                     59


1     right?

2                  MR. DARROW:        Objection.

3           A.     Yes.

4           Q.     All right.       And the impact in effect

5     was that Border Patrol was releasing aliens from

6     the border without notices to appear, correct?

7                  MR. DARROW:        Objection.

8           A.     Correct.

9           Q.     And then hopefully giving the aliens

10    ISE's addresses around the location where they

11    were supposed to be going, right?

12                 MR. DARROW:        Objection.

13          A.     Correct.

14          Q.     And with the direction to the aliens

15    of going to the ICE facility to finish their

16    immigration paperwork, right?

17                 MR. DARROW:        Objection.

18          A.     That's correct.

19          Q.     Okay.    And because of the number of

20    people that were being released, a backlog

21    occurred, right?

22                 MR. DARROW:        Objection.



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1           A.     Correct.

2           Q.     Okay.    When did you learn about the

3     notice to report program?

4                  MR. DARROW:        Objection.

5           A.     I don't recall the specific date, but

6     it was sometime in 2021.

7           Q.     Okay.    And what was your response to

8     learning about the notice to report program?

9     Objection.

10          A.     I was very concerned at the amount of

11    workload that was going to be put onto my staff

12    and our facilities.

13          Q.     Okay.    Now, are you familiar with the

14    Immigration and Nationality Act?

15          A.     I am.

16          Q.     Okay.    Are you generally familiar with

17    the regulations that -- that are there under it

18    as well?

19          A.     In general.        Of course, I consult with

20    my team at OPLA on many specific laws, but yes,

21    in general.

22          Q.     Okay.    Is the notice to report



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1     anything under either the Immigration and

2     Nationality Act or under the regulations?

3                  MR. DARROW:       Objection.

4           A.      I've never heard of the term notice to

5     report prior to 2021.

6           Q.     Okay.    It was a program that Border

7     Patrol basically just made up, correct?

8                  MR. DARROW:       Objection.

9           A.     To the best of my knowledge.

10          Q.     Okay, all right.          Now, at some point

11    in time, it was decided and -- and your

12    testimony was that it was later in 2021 that ICE

13    would no longer detain family units, correct?

14          A.     That's correct.

15          Q.     Okay.    With that decision -- that

16    decision by the Eiden administration on family

17    units,     family units entering this country

18    illegally will never be detained, right?

19                 MR. DARROW:       Objection.

20          A.      I can't say that because we could

21    always convert them back.            You know, our FRCs,

22    the three of them that we have,              so that they



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 1    could detain them, but as of today, no, we

2     cannot.

 3           Q.    Okay.    So, family units illegally

 4    entering the United States across the border

 5    right now cannot be detained?

 6                 MR. DARROW:       Objection.

 7           A.    Without converting them back, that's

 8    correct.

 9           Q.    Okay, all right.          Now, under the

 10   Immigration and Nationality Act, aliens who are

 11   caught illegally entering the United States are

 12   subject to mandatory -- mandatory detention

 13   unless they're paroled, right.

 14                MR. DARROW:       Objection.

 15          A.    Yes.

 16          Q.    Okay.    And that parole is supposed to

 17   be on a case-by-case decision, correct?

 18          A.    To the best of my knowledge, yes.

 19          Q.    Okay.    But with this policy on family

20    units, a case-by-case decision cannot be made,

21    because there's no option to detain, right?

22                 MR. DARROW:       Objection.



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 1           A.    I can't speak to that because ICE

2     isn't issuing those paroles.              That's being

 3    handled by Border Patrol.            So, I would have to

 4    defer to Border Patrol on how they're -- they're

 5    instituting their case-by-case decisions.

 6           Q.    Okay.    But detention is not an option?

 7           A.    For family units right now today,

 8    detention is not an option.

 9           Q.    Under the Trump administration, parole

 10   had been significantly curtailed, right?

 11                MR. DARROW:       Objection.

 12          A.    I don't know, to the extent of what

 13   CBP was, you know, issuing for all under that

 14   administration.       I can't speak to that, I'm

 15   sorry.

 16          Q.    Okay.    Now, are you familiar with a

 17   concept called expedited removal?

 18          A.    I am.

 19          Q.    What is expedited removal?

20           A.    Expedited removal is an authority that

21    an immigration officer can use when that

22    individual is eligible for expedited removal



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 1    where they can process that person and order

2     them removed without them being able to see an

 3    immigration judge.

 4           Q.    Okay.    What are those characteristics

 5    or requirements to be able to have someone be

 6    eligible?

 7                 MR. DARROW:        Objection.

 8           A.    I'd have to defer to my colleagues in

 9    OPLA to give us like all the specifics on that.

 10          Q.    Okay.    Isn't it something as simple as

 11   they don't have a password and/or a visa to

 12   enter the United States?

 13                MR. DARROW:        Objection.

 14          A.    I believe it's a little bit more

 15   complicated than that.           But again, ERO uses it

 16   so little that I'm just not personally familiar

 17   with all the details or all the facets that are

 18   required of it.

 19          Q.    Now, expedited removal mainly applies

20    to recent border crossers, correct?

21           A.    Correct.

22           Q.    Okay.    So, people that were caught at



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 1    the border and people that have been here less

2     than,    I think it's two years, right?

 3                 MR. DARROW:       Objection.

 4            A.   I believe that's correct, yes.

 5            Q.   Okay.    Now, because detention was not

 6    an option, ERO or Border Patrol, or I don't

 7    strike that.      Let me back up and come at it a

 8    different way.       Who makes the decision whether

 9    an alien should be enrolled in alternatives to

 10   detention?

 11           A.   The officer.       So, in our case, like at

 12   ATD, it would be the ERO deportation officer

 13   that is reviewing that specific cases.

 14           Q.   Okay.    So, in the case of someone who

 15   gets caught at the border, it would be probably

 16   the Border Patrol agent in the first instance,

 17   correct?

 18           A.   The Border Patrol agent would send

 19   somebody over after they're -- they're completed

20    with their processing, whatever processing

21    pathway they         they use, and if that person is

22    not going to be detained, they would come over



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 1    to an ERO officer, who would then evaluate that

2     case to see what form of ATD would be

 3    appropriate for them.          We have a variety of

 4    different forms that we can use.

 5           Q.    Do you have a program called ISAP?             I

 6    think it's ISAP-4 now.

 7           A.    That's       that's one of them, yes.

 8           Q.    Okay.    Is that a common one?

 9           A.    Right now, the -- the biggest one that

 10   we use is what's known as the GPS ankle monitors

 11   and then the other one is SmartLink, which is --

 12   it's an app that we can put on the alien's phone

 13   or if they don't have a phone, our contractor

 14   can actually provide them a phone to monitor

 15   their whereabouts.

 16          Q.    Okay.    So, in some instances ICE is or

 17   ICE's contractor is providing aliens a telephone

 18   or cell phone?

 19          A.    That's correct.

20           Q.    All right.      And the alien is free to

21    use that for their own purposes as well?

22           A.    It has very limited functionality.



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 1    budget for ICE, and that continues through page

2     35, right?

 3           A.    Correct.

 4           Q.    All right.       If you'll turn to page 35

 5    of Exhibit 15, on page 35, there is one single

 6    major decrease to ICE's budget that is being

 7    highlighted in this document, correct?

 8           A.    That is correct.

 9           Q.    All right.       Go ahead.        All right.   And

 10   that one single major decrease to ICE's proposed

 11   budget is to decrease the detention capacity of

 12   ICE, right?

 13                MR. DARROW:        Objection.

 14          A.    It appears so.

 15          Q.    Okay.    When this budget was being

 16   proposed, the southwest border was seeing a

 17   historic surge of illegal aliens entering the

 18   United States, correct?

 19                MR. DARROW:        Objection.

20           A.    I don't know the whole history of the

21    data on what the numbers at the southwest border

22    have shown, but we have seen a significant



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 1    increase at the southwest border for the last

2     few years, yes.

 3           Q.    Okay.    So, you're unaware that roughly

 4    1.9 million encounters occurred on the southwest

 5    border in 2021 and more than 2 million

 6    encounters have occurred on the southwest border

 7    this past year?

 8                 MR. DARROW:       Objection.

 9           A.    I would defer to Border Patrol on this

 10   specific numbers, but that does sound right from

 11   my understanding.

 12          Q.    Okay.    And that's higher than any

 13   previous year ever in the history of the United

 14   States, right?

 15                MR. DARROW:       Objection.

 16          A.    Again, I don't -- I don't have those

 17   numbers, but from what I've seen in the public

 18   data from Border Patrol, that appears so .

 19          Q.    Okay.    Now, I think we talked about

20    this a little bit earlier.             Illegal aliens

21    caught entering the United States are subject to

22    mandatory detention unless they meet the



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 1    requirements of parole, right?

2                  MR. DARROW:       Objection.

 3           A.    Yes.

 4           Q.    Okay.    And so, despite that

 5    requirement, or that requirement of mandatory

 6    detention, the Eiden administration sought to

 7    reduce ICE's detention capacity, correct?

 8                 MR. DARROW:       Objection.

 9           A.    I don't know what went into the

 10   methodology used in this, but I can tell you

 11   that we've never been in a position to detain

 12   everybody who has come across the southwest

 13   border.

 14          Q.    I appreciate that.           But my question

 15   was that in the -- with the mandatory detention

 16   subject of parole, with a historic surge of

 17   aliens across the border, the Eiden

 18   administration's response was to reduce

 19   detention capacity, correct?

20                 MR. DARROW:       Objection.

21           A.    It appears so.

22           Q.    Okay.    So, looking at that document



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 1    the Trump administration was proposing a 55,000

2     bed capacity -- was actually proposing an

 3    increase from the 55,000 bed capacity it had for

 4    the 2019 surge to 60,000 capacity, right?

 5           A.    Yes, that's what that said.

 6           Q.    Okay.    And instead of having a 60,000

 7    capacity, the Biden administration is reducing

 8    that in roughly half, right?

 9                 MR. DARROW:       Objection.

 10          A.    Yes, it appears so.

 11          Q.    All right.      With reduced detention

 12   capacity and the ending of other programs like

 13   the Migrant Protection Protocols, the Biden

 14   administration was ensuring more illegal aliens

 15   were going to be released into the United

 16   States, correct?

 17                MR. DARROW:       Objection.

 18          A.    I apologize.       Can you just repeat that

 19   one more time?

20           Q.    I don't know if I can.

21           A.    Okay.

22           Q.    I'm going to ask the reporter if he



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 1    can read it back.        If not,     I'll try.

2            A.     Okay.   I just want to make sure I

 3    understood it correctly.

 4           Q.     I'll just do it.         I'll try to

 5    remember.

 6           A.     Okay.

 7           Q.     With reduced -- I'll just do it,

 8    sorry.      With reduced detention capacity and

 9    ending of other programs like the Migrant

 10   Protection Protocols, the Eiden administration

 11   was ensuring that more illegal aliens would be

 12   released into the United States, correct?

 13                MR. DARROW:       Objection.

 14          A.     That would have been the end result.

 15          Q.     I'm going to show you what I'm going

 16   to -- I'm going to show you what I've marked for

 17   identification as Exhibit 16 to your deposition.

 18          A.     Thank you.

 19          Q.     Exhibit 16 is the Department of

20    Homeland Security's 2023 budget in brief, right?

21           A.     Yes, it is.

22           Q.     This would have been President Biden's



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                              Transcript of Corey A. Price
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 1    second proposed budget, correct?

2            A.    Yes.

 3           Q.    All right.       If you'll turn to page 33

 4    of Exhibit 16.       Page 33 of Exhibit 16 starts the

 5    section of DHS's proposed budget in brief

 6    relating to ICE's budget, correct?

 7           A.    Yes.

 8           Q.    And that continues through,               I think,

 9    it's about page 37.

 10          A.    Page 40.

 11          Q.    Page 40, sorry.          If you'll turn to

 12   page 40 of Exhibit 16.           Page 40 of Exhibit 16

 13   lists yet again one single major decrease to

 14   ICE's budget, right?

 15          A.    That's correct.

 16          Q.    And in its second budget, the Biden

 17   administration is proposing an additional

 18   reduction of adult beds and the elimination of

 19   all family detention beds, correct?

20                 MR. DARROW:        Objection.

21           A.    Yes.

22           Q.    So, the Biden administration was



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                             Transcript of Corey A. Price
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 1    proposing a further decrease to a detention

2     capacity of 25,000 beds, while a historic

 3    migration surge had been occurring for more than

 4    a year, right?

 5                 MR. DARROW:       Objection.

 6           A.    Yes.

 7           Q.    So, ICE will not have the

 8    approximately 55,000 bed capacity it had for the

 9    2019 surge, nor the 60,000 capacity the Trump

 10   administration tried to secure before the end of

 11   COVID, but it instead would have less than half

 12   that capacity, right?

 13          MR. DARROW:      Objection.

 14          A.    That's correct.

 15          Q.    And again, you would have -- and on

 16   top of that, ICE would have no capacity to house

 17   family units, right?

 18                MR. DARROW:       Objection.

 19          A.    That's correct.

20           Q.    Okay.    By further reducing detention

21    capacity, the Biden administration with its 2023

22    budget was ensuring that more illegal aliens



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                             Transcript of Corey A. Price
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 1    were going to have to be released into the

2     interior, right?

 3                 MR. DARROW:       Objection.

 4           A.    I can't speak to the administration's

 5    intent.     But yes, that would have been the

 6    result.

 7           Q.    Okay.    Put that aside.           I'm going to

 8    show you what I've marked for identification as

 9    Exhibit 17 to your deposition .              Exhibit 17 Is

 10   the Congressional justification for ICE's 2023

 11   budget request, correct?

 12          A.    Yes, it is.

 13          Q.    All right.      If you look -- I don't

 14   know who came up with this page numbering system

 15       to the page that's marked ICE-3.

 16          A.    Okay,   I have it.

 17          Q.    All right.      If you'll look at the

 18   third set of blocks or third, I guess, table

 19   down, it has a -- it has a section that deals

20    with the detention capacity.

21           A.    Page ICE-3?

22           Q.    It's just ICE-3.          It looks like --



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                             Transcript of Corey A. Price
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 1           A.    You mean ICE -- hold on.

2            [Discussion and cross-talk regarding

 3    pages.]

 4           Q.    All right.      Now, going back to Exhibit

 5    17.    Let's go to -- let's try to see if this is

 6    there, ICE ONS-29.

 7           A.    Got it.

 8           Q.    That one was easy to find.

 9           A.    Hopefully it's the one on the top that

 10   says program change 11.

 11          Q.    Yes, it is.

 12          A.    We've got the same paper.

 13          Q.    Okay, program change 11 provides the

 14   justification for the family bed decrease,

 15   correct?

 16          A.    That is correct.

 17          Q.    All right.      And the justification for

 18   getting rid of -- at least what is expressed in

 19   this document -- of all family detention beds,

20    is to ensure a -- I need some water -- to ensure

21    a more humane treatment of families,                  right?

22                 MR. DARROW:       Objection.



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 1           A.    That is what that says.

2            Q.    Okay.    From your perspective, was

 3    there anything inhumane about how families were

 4    being detained?

 5           A.    No.

 6           Q.    Okay.    Now, we've got a while and we

 7    kind of hit at it a little bit, but we've not

 8    really talked about the southwest border.               You,

 9    during your career, were actually stationed at

 10   the southwest border, now El Paso, correct?

 11          A.    That's correct.

 12          Q.    All right.      Director, as we speak here

 13   today in this deposition, are there aliens

 14   entering this country illegally --

 15                MR. DARROW:       Objection.

 16          Q.    -- across the southwest border?

 17          A.    Yes.

 18          Q.    Okay.    Director, are there historic

 19   numbers of aliens attempting to enter this

20    country along the southwest border since

21    President Eiden was inaugurated?

22                 MR. DARROW:       Objection.



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 1           A.    Yes.

2            Q.    Director, did an increase of aliens

 3    across the southwest border begin with President

 4    Biden's election and inauguration?

 5                 MR. DARROW:       Objection.

 6           A.    We've been seeing a steady increase

 7    along the southwest border at numbers that I

 8    haven't seen in my career, I would say over the

 9    last four to five years.

 10          Q.    Okay.    Except for the 2020 year where

 11   the border was shut down or NPP was in full

 12   force, right?

 13                MR. DARROW:       Objection.

 14          A.    I believe there was a dip in 2020,

 15   yes.

 16          Q.    Okay.    Now, Director Price, the aliens

 17   entering this country illegally are primarily

 18   walking across the southwest border, right?

 19                MR. DARROW:       Objection.

20           A.    I think they come in various manners,

21    but I would defer to BP to give specifics on all

22    the ways they come in.



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 1           Q.    Okay.    So, you're not -- what ways do

2         do aliens cross the southwest border that

 3    you're aware of?

 4           A.    With a number, again,           I would defer to

 5    BP to give you all the intel on that.                 But boats

 6    rafts, vehicles, walking through tunnels, corning

 7    to the ports of entry corning, in between the

 8    ports of entry, planes, you name it.

 9           Q.    Okay.      And we kind of also talked

 10   about this a little bit.           You're familiar with

 11   the US Centers for Disease Control and

 12   Prevention's Title 42 order with respect to the

 13   border?

 14          A.    I am.

 15          Q.    Okay.    And that order allows ICE and

 16   other agencies to expel aliens without screening

 17   for asylum, correct?

 18                MR. DARROW:       Objection.

 19          A.    That is correct.

20           Q.    All right.      Director, does ICE expect

21    that the historic flood of immigrants crossing

22    the southwest border will become worse if the



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 1    Title 42 Order is rescinded?

2            MR. DARROW:      Objection, and I would let the

 3    witness answer but direct him not to reveal any

 4    privileged information.

 5           A.    I can't speculate as to what the

 6    future holds, but given our recent history,               I

 7    would -- again,      I can't really speculate as to

 8    what that future is going to be.                But we need to

 9    plan for it.

 10          Q.    Okay.    Director Price, is ERO

 11   releasing aliens who were encountered on the

 12   southwest border who are likely inadmissible?

 13                MR. DARROW:       Objection.

 14          A.    Is ERO --

 15          Q.    Releasing aliens encountered on the

 16   southwest border, who are likely in

 17   inadmissible?

 18                MR. DARROW:       Objection.

 19          A.    So, after CBP encounters them,

20    processes them, and determines the processing

21    disposition, those that are deemed appropriate

22    for release on ATD or what have you, ERO would



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 1    be performing that function, yes.

2            Q.    And many of those -- that you're doing

 3    the release function for are people that are

 4    inadmissible, correct?

 5           A.    Inadmissible and deportable, both

 6    correct.     Yes.

 7           Q.    That was going to be my next question.

 8    So, you just beat me to it.             All right.

 9    Director Price, is ERO releasing aliens

 10   encountered on this southwest border who haven't

 11   even made an asylum claim?

 12                MR. DARROW:       Objection.

 13          A.    Yes.

 14          Q.    Okay.    Director Price, is ERO

 15   releasing aliens on the southwest border for

 16   which CIS has not done an asylum interview?

 17                MR. DARROW:       Objection.

 18          A.    Yes.

 19          Q.    Okay.    Director Price, is ERO

20    releasing aliens on the southwest border who do

21    not have a positive credible fear finding?

22                 MR. DARROW:       Objection.



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 1           A.    Yes.

2            Q.    Okay.    Director Price, if a family

 3    unit is encountered at the southwest border, and

 4    that family unit is not subject to Title 42,

 5    that family unit is going to be released no

 6    matter what, correct?

 7                 MR. DARROW:       Objection.

 8           A.    Yes.

 9           Q.    I'm going to show you what I've marked

 10   as you Exhibit 18 to your deposition.                 Exhibit

 11   18 is the administrative record for the parole

 12   plus alternatives to detention, correct?                 Take

 13   your time.      You can look past the affidavit or

 14   read the affidavit.

 15          A.    Yes.

 16          Q.    All right.      This

 17                MR. DARROW:       Can we just clarify it's

 18          the ICE portion of the

 19                MR. GUARD:      Sure, I should have made

20           that clear.      I was not going to hand you

21           the CBP portion of the administrative

22           records.



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 1                 MR. DARROW:        I appreciate that.

2            Q.    This is the ICE portion of the

 3    administrative record for the alternatives to

 4    detention memorandum, correct?

 5           A.    Yes.    It's the memo of policy on use

 6    of parole plus alternatives to detention to

 7    decompress border locations.

 8           Q.    All right.       And you're actually

 9    looking at the policy memorandum now, you've

 10   moved past the declaration.              So, you're three or

 11   four pages into the to the document and the

 12   policy itself was issued on July 18, 2022?

 13          A.    Correct.

 14          Q.    And it was issued for you and Chief

 15   Raul Ortiz, right?

 16          A.    That's correct.

 17          Q.    And Chief Ortiz is the Chief of the

 18   Border Patrol, correct?

 19          A.    Correct.

20           Q.    Why was this memorandum issued?

21                 MR. DARROW:        Objection and I will

22    instruct the witness not to reveal any



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 1    privileged information in his answer.

2            A.    It's my understanding that this was

 3    written to limit the number of individuals that

 4    were being released on NTR and in the case -- in

 5    the circumstances on when the board parole would

 6    use that, they would have some triggers, you

 7    know, a certain number of people encountered per

 8    day, a certain number in custody for when they

 9    could use parole plus ATD.

 10          Q.    Okay.    And if you -- before this

 11   policy existed, there was a prior policy

 12   relating to parole plus ATD that existed for

 13   Border Patrol.       If you want to flip to about

 14   three pages more into the document, you'll see a

 15   copy of that policy, correct?

 16          A.    Yes.

 17          Q.    And the policy memorandum that you

 18   were looking at before, not Mr. Chief Ortiz's

 19   policy, the July 18th policy rescinded Chief

20    Ortiz's original policy, correct?

21                 MR. DARROW:       Objection.

22           A.    That's correct.



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 1            Q.    Okay.   I want to talk a minute about

2     that         that second policy -- the policy from

 3    Border Patrol alone.         When did ICE become aware

 4    of -- we talked earlier about NTR -- so, move

 5    NTR to the side -- when did ICE become aware of

 6    Border Patrol's parole plus ATD policy?

 7            A.     I would say on or after November 2,

 8    2021.

 9            Q.    Okay, all right.         And how did ERO

 10   become aware of Border Patrol's parole plus ATD

 11   policy?

 12           A.     I don't recall specifically how we --

 13   how we found out about it.

 14           Q.    Okay, all right.         Like with NTR,

 15   Border Patrol's parole plus ATD policy added to

 16   the backlog, right?

 17                 MR. DARROW:      Objection.

 18           A.    Yes.

 19           Q.    Okay.   And the reason why, again,

20    there was a backlog?         Well, strike that.         The

21    reason that there was a backlog at ICE was just

22    like in -- for the NTR policy under the parole



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 1    plus a TD policy, Border Patrol was not

2     completing notices to appear and it was instead

 3    having aliens report to ICE facilities to

 4    complete that process, correct?

 5                 MR. DARROW:       Objection.

 6           A.    That's correct.

 7           Q.    Okay.    And, we talked about this kind

 8    of again, tangentially, but notices to appear

 9    began the immigration removal process, right?

 10          A.    That's correct.

 11          Q.    Okay.    And without them, there is no

 12   immigration proceeding, right?

 13                MR. DARROW:       Objection.

 14          A.    That's correct.         That's what we refer

 15   to as a charging document.

 16          Q.    Okay.    So, both the NPR policy and the

 17   parole plus ATD policy for Border Patrol were

 18   taking aliens that were subject to mandatory

 19   detention unless paroled and potentially

20    expedited removal and paroling them into the

21    United States and placing those aliens

22    potentially on the standard docket, right?



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 1                 MR. DARROW:       Objection.

2            A.    That is correct.          They'd be on the

 3    non-detained docket.

 4           Q.    Okay.    And expedited -- expedited

 5    removal and the detained docket moves

 6    significantly more quickly than the non-detained

 7    docket, right?

 8                 MR. DARROW:       Objection.

 9           A.    Yes.

 10          Q.    Okay.    The non-detained document --

 11   non-detained docket can take upwards of five

 12   years before a removal is ordered, correct?

 13                MR. DARROW:       Objection.

 14          A.    That is my understanding.

 15          Q.    Okay.    Now, under Border Patrol's

 16   parole plus ATD policy or the July 18th joint

 17   parole plus ATD policy, the policy exists to

 18   deal with circumstances where appropriate

 19   detention space is unavailable, correct?

20                 MR. DARROW:       Objection.

21           A.    Yes.

22           Q.    Okay.    When it comes to family units,



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                                 September 9, 2022                       119


 1    there is never detention space available, right?

2                  MR. DARROW:       Objection.

 3           Q.    At this point.

 4           A.    There is not currently detention space

 5    available for families.           That is correct.

 6           Q.    So, no matter what, alien family

 7    family units legally entering the United States

 8    are going to be released, whether it's this

 9    policy or through some other authority, right?

 10                MR. DARROW:       Objection.

 11          A.    That is correct.          The Flores decision

 12   has really impacted our ability to detain

 13   families to the point where they can be removed.

 14          Q.    Now, this memorandum on page 2, so the

 15   July 18th memorandum on page 2, indicates a

 16   parole plus ATD is supposed to be utilized

 17   sparingly, right?

 18                MR. DARROW:       Objection.

 19          A.    Yes.

20           Q.    So, the final paragraph on the bottom

21    of the page actually uses the word sparingly.

22    Has -- again, I'm trying to talk just about the



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 1                     CERTIFICATE OF NOTARY PUBLIC

2           I, Mawira Nyamete, Notary Public for the

 3    State of Maryland, do hereby certify that on

 4    September 9, 2022, the witness, Corey Price, was

 5    sworn before me at the aforementioned location,

 6    and that I am neither counsel for,                    related to,

 7    nor employed by any of the parties to this case

 8    and have no interest, financial or otherwise, in

 9    its outcome.

 10         IN WITNESS WHEREOF, I have hereunto set my

 11   hand and affixed my notarial seal this 9th day

 12   of September, 2022.

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 15   NOTARY PUBLIC IN AND FOR THE STATE OF MARYLAND

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                                 September 9, 2022                       155


 1                   CERTIFICATE OF TRANSCRIBER

2                  I, Pamela A Flutie, do hereby certify

 3    that the foregoing transcript is a true and

 4    correct record of the recorded proceedings; that

 5    said proceedings were transcribed to the best of

 6    my ability from the audio recording and

 7    supporting information; and that I am neither

 8    counsel for,     related to, nor employed by and of

 9    the parties to this case and have no interest,

 10   financial or otherwise, in its outcome.

 11

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 15   Pamela A. Flutie

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                        ERRATA SHEET FOR THE TRANSCRIPT OF:
Caption:       State of Florida v. The United States of America, et. al.
Deponent: Corey A. Price, Individually
Deposition Date: September 9, 2022
Case No.: 3:21-cv-1066
  Page         Line              Correction                  Reason
 Pg 15.    7            Change "A" to "Q"            It was a Question, not
                                                     an Answer
 Pg 47     14           Change "loss" to "ALOS"      Mis-spelled. ALOS is
                                                     an acronym.
 Pg 115    5            Change "board parole" to     Mis-spelled
                        "Border Patrol"
 Pg 122    15           Change "A" to "Q"            It was a Question, not
                                                     an Answer
 Pg 122    16           Change "Q" to "A"            It was an Answer, not
                                                     a Question
 Pg 122    17           Change "A" to "Q"            It was a Question, not
                                                     an Answer
 Pg 147    12           Change "we're" to "we use"   Mis-spelled




Under penalties of perjury, I declare that I have read the foregoing
document and that the facts                  true to the best of my
knowledge and belief.


Signature of Deponent:


Dated this:        21       day of
